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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

   PARIS EMERGENCY CENTER, LLC   §
   d/b/a SIGNATURECARE EMERGENCY §
   CENTER – PARIS, et al.,       §
                                 §
              Plaintiffs,        §
                                 §
   v.                            § Civil Action No. 5:24-cv-00002-RWS
                                 §
   BLUE CROSS AND BLUE SHIELD OF §
   TEXAS, A DIVISION OF HEALTH   §
   CARE SERVICE CORPORATION,     §
                                 §
              Defendant.         §


                           STIPULATED HIPAA QUALIFIED AND
                             FRE 502(D) PROTECTIVE ORDER

                             Proceedings and Information Governed.

         1.      This Order (“Protective Order”) is made under Fed. R. Civ. P. 26(c), Fed. R. Evid.

  502(d) and 45 C.F.R. § 164.512(e)(1)(v). It governs any court filings including exhibits to the

  same, and any document, information, or other thing furnished by any party to any other party,

  and it includes any nonparty who receives a subpoena or otherwise provides documents in

  connection with this action. The information protected includes, but is not limited to: pleading or

  motion exhibits; lists or spreadsheets showing the insurance reimbursement claims at issue;

  answers to interrogatories; answers to requests for admission; responses to requests for production

  of documents; deposition transcripts and videotapes; deposition exhibits; and other writings or

  things produced, given or filed in this action that are designated by a party as “Confidential

  Information” or “Confidential Attorney Eyes Only Information” in accordance with the terms of

  this Protective Order, as well as to any copies, excerpts, abstracts, analyses, summaries,



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  descriptions, or other forms of recorded information containing, reflecting, or disclosing

  such information.

                           Designation and Maintenance of Information.

         2.      For purposes of this Protective Order, (a) the “Confidential Information”

  designation means that the document is comprised of or contains trade secrets or commercial

  information that is not publicly known and is of technical or commercial advantage to its possessor,

  in accordance with Fed. R. Civ. P. 26(c)(7) or as determined by the Court, or other information

  required by law or agreement to be kept confidential, including Protected Health Information, or

  other sensitive personal information and (b) the “Confidential Attorney Eyes Only” designation

  means that the document is comprised of or contains information that the producing party deems

  especially sensitive such that it cannot be adequately protected by treatment as “Confidential

  Information” under this Protective Order, which may include, but is not limited to, confidential

  research and development, financial, technical, marketing, or any other competitively sensitive

  information. Confidential Information and Confidential Attorney Eyes Only Information does not

  include, and this Protective Order does not apply to, information that is already in the knowledge

  or possession of the party to whom disclosure is made unless that party is already bound by

  agreement not to disclose such information, or information that has been disclosed to the public or

  third persons in a non-confidential manner.

         3.      Ultrasensitive Information. At this point, the parties do not anticipate the need for

  production of ultrasensitive documents or information, e.g., production of information that would

  entail risks/harms not sufficiently mitigated by the protections currently provided by this Order.

  However, in the event that a court orders that ultrasensitive documents or information be produced,

  the parties will negotiate and ask the court to enter an ultrasensitive information protocol in




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  advance of production to further protect such information.

         4.       Documents and things produced during the course of this litigation within the scope

  of paragraph 2(a) above, may be designated by the producing party as containing Confidential

  Information by placing on each page and each thing a legend, or otherwise conspicuously

  designating electronically stored information, substantially as follows: CONFIDENTIAL.

         5.       Documents and things produced during the course of this litigation within the scope

  of paragraph 2(b) above may be designated by the producing party as containing Confidential

  Attorney Eyes Only Information by placing on each page and each thing a legend, or otherwise

  conspicuously    designating electronically     stored information,      substantially   as follows:

  ATTORNEY EYES ONLY.

         6.       A party may designate information disclosed at a deposition as Confidential

  Information or Confidential Attorney Eyes Only Information by requesting the reporter to so

  designate the transcript or any portion of the transcript at the time of the deposition. If no such

  designation is made at the time of the deposition, any party will have thirty (30) calendar days after

  receipt of the deposition transcript to designate, in writing to the other parties and to the court

  reporter, whether the transcript, or any portion thereof, is to be designated as Confidential

  Information or Confidential Attorney Eyes Only Information. If no such designation is made at

  the deposition or within this thirty (30) calendar day period (during which period, the transcript

  must be treated as Confidential Attorney Eyes Only Information, unless the disclosing party

  consents to less confidential treatment of the information), the entire deposition will be considered

  devoid of Confidential Information or Confidential Attorney Eyes Only Information. Each party

  and the court reporter must attach a copy of any final and timely written designation notice to the

  transcript and each copy of the transcript in its possession, custody or control, and the portions




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  designated in such notice must thereafter be treated in accordance with this Protective Order. It is

  the responsibility of counsel for each party to maintain materials containing Confidential

  Information or Confidential Attorney Eyes Only Information in a secure manner and appropriately

  identified so as to allow access to such information only to such persons and under such terms

  as is permitted under this Protective Order.

                                  Inadvertent Failure to Designate.

         7.      The inadvertent failure to designate or withhold any information as confidential or

  privileged will not be deemed, in this litigation or any other, to waive a later claim as to its

  confidential or privileged nature, or to stop the producing party from designating such information

  as confidential or privileged at a later date in writing and with particularity. The information must

  be treated by the receiving party as confidential or privileged from the time the receiving party is

  notified in writing of the change in the designation.

                                     Challenge to Designations.

         8.      A receiving party may challenge a producing party’s designation at any time. Any

  receiving party disagreeing with a designation may request in writing that the producing party

  change the designation and shall explain in that writing why the receiving party believes that the

  designation should be changed. The producing party will then have ten (10) business days after

  receipt of a challenge notice to advise the receiving party whether or not it will change the

  designation. If the parties are unable to reach agreement after the expiration of this ten (10)

  business day time-frame, and after the conference required under LR CV-7(h), the receiving party

  may at any time thereafter seek an order to alter the confidential status of the designated

  information. Until any dispute under this paragraph is ruled upon by the presiding judge, the

  designation will remain in full force and effect, and the information will continue to be accorded




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  the confidential treatment required by this Protective Order.

                           Disclosure and Use of Confidential Information.

          9.      Information designated as Confidential Information or Confidential Attorney Eyes

  Only Information may only be used for purposes of preparation, trial, settlement and appeal of this

  action. Confidential Information or Confidential Attorney Eyes Only Information may not be used

  under any circumstances for any other purpose.

          10.     Information designated as Confidential Information or Confidential Attorney Eyes

  Only Information may contain Protected Health Information (“PHI”) as defined by 45 C.F.R.

  § 160.103. In accordance with the Health Insurance Portability and Accountability Act of 1996

  (“HIPAA”), codified at 42 U.S.C. §§ 1320d et seq. and implemented at 45 C.F.R. §§ 160, 164, this

  Protective Order specifically prevents any receiving party from using or disclosing PHI for any

  purpose other than prosecuting, defending or settling the claims in this litigation. See 45 C.F.R.

  § 164.512(e)(1)(v)(A).

          11.     Subject to paragraph 13 below, Confidential Information may be disclosed by the

  receiving party only to the following individuals, provided that such individuals are informed of

  the terms of this Protective Order: (a) employees of the receiving party who are required in good

  faith to provide assistance in the conduct of this litigation, including any settlement discussions;

  (b) in-house counsel of the receiving party; (c) outside counsel for the receiving party of record in

  this action; (d) supporting legal personnel employed by (b) and (c), such as paralegals, legal

  secretaries, data entry clerks, and legal clerks who are required in good faith to provide assistance

  in the conduct of this litigation; (e) experts or consultants retained specifically to assist counsel of

  record in this action; (f) lay witnesses or prospective lay witnesses whom counsel of record

  reasonably believes will be called as a witness at the trial or an evidentiary hearing, or whose




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  deposition has been noticed, to the extent reasonably necessary to prepare for or provide trial,

  hearing or deposition testimony; but only if (i) such individuals first have agreed to and have

  signed, before disclosure to them, the Confidentiality Agreement attached to this Order, (ii) they

  are not allowed to keep copies of such documents or information; and (iii) counsel of record retains

  direct control of such Confidential Information at all times; (g) any persons requested by counsel

  to furnish services such as dispute resolution services, e-discovery, photocopying, document

  coding, image scanning, mock trial, jury profiling, translation services, court reporting services,

  demonstrative exhibit preparation, or the creation of any computer database from documents; and

  (h) the presiding judge and court staff.

         12.     Subject to paragraph 14 below, Confidential Attorney Eyes Only Information may

  be disclosed by the receiving party only to the following individuals, provided that such individuals

  are informed of the terms of this Protective Order: (a) in-house counsel for the receiving party with

  responsibility for the management of this action; (b) outsid e counsel for the receiving party of

  record in this action: (c) supporting legal personnel employed by inside or outside counsel, such

  as paralegals, legal secretaries, data entry clerks, and legal clerks who are required in good faith to

  provide assistance in the conduct of this litigation; (d) experts or consultants retained specifically

  to assist counsel of record in this action; (e) any persons requested by counsel to furnish services

  such as dispute resolution services, e-discovery, photocopying, document coding, image scanning,

  mock trial, jury profiling, translation services, court reporting services, demonstrative exhibit

  preparation, or the creation of any computer database from documents; and (f) the presiding judge

  and court staff.

         13.     Further, prior to disclosing Confidential Information to any person authorized

  under paragraph 11 other than those identified in subparagraphs (a), (b), (c), (d), and (h), the




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  receiving party must obtain from that person and maintain on file a signed Confidentiality

  Agreement in the form attached as Exhibit A (employees, experts and consultants) or Exhibit B

  (third-party vendors), as appropriate. Counsel is responsible for the adherence by third -party

  vendors to the terms and conditions of this Protective Order. Counsel may fulfill this obligation

  by obtaining a signed Confidentiality Agreement in the form attached as Exhibit B.

         14.     Further, prior to disclosing Confidential Attorney Eyes Only Information to any

  person authorized under paragraph 12 other than those identified in subparagraphs (a), (b), (c) and

  (f) the receiving party must obtain from that person and maintain on file a signed Confidentiality

  Agreement in the form attached as Exhibit A (experts and consultants) or Exhibit B (third -party

  vendors), as appropriate.

         15.     Confidential Information or Confidential Attorney Eyes Only Information may be

  disclosed by a receiving party to a person who is not already allowed access to such information

  under this Protective Order if:

         (a)     the information was previously received or authored by the person or was authored

  or received by a director, officer, employee or agent of the company for which the person is

  testifying as a designee under Fed. R. Civ. P. 30(b)(6);

         (b)     the person is the designating party or is a director, officer, or employee of the

  designating party; or

         (c)     counsel for the party designating the material agrees that the material may be

  disclosed to the person.

         In the event of disclosure under this paragraph, only the reporter, the person, his or her

  counsel, the presiding judge, and persons to whom disclosure may be made and who are bound by

  this Protective Order, may be present during the disclosure or discussion of Confidential




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  Information. Disclosure of material pursuant to this paragraph does not constitute a waiver of the

  confidential status of the material so disclosed.

                                        Nonparty Information.

         16.     The existence of this Protective Order must be disclosed to any person producing

  documents, tangible things, or testimony in this action who may reasonably be expected to desire

  confidential treatment for such documents, tangible things, or testimony. Any such person may

  designate documents, tangible things, or testimony confidential pursuant to this Protective Order.

                                 Filing Documents With the Court.

         17.     In the event a party wishes to use any Confidential Information in affidavits,

  declarations, briefs, memoranda of law, or other papers filed in this litigation, the party shall do

  one of the following: (1) with the consent of the producing party, file only a redacted copy of the

  information; (2) where appropriate (e.g., in connection with discovery and evidentiary motions)

  provide the information solely for in camera review; or (3) file such information under seal with

  the court consistent with the sealing requirements of the Court. Any Confidential Information

  filed under seal with the Court shall remain under seal until further order of the court. The filing

  party shall be responsible for informing the Clerk of the Court that the filing should be sealed and

  for placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above

  the caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to the

  labeling requirements set forth in this Protective Order.

                                             No Prejudice.

         18.     Producing or receiving confidential information, otherwise complying with the

  terms of this Protective Order, or choosing not to object to another party’s confidentiality

  designation will not (a) operate as an admission by any party that any particular document, tangible




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  thing, or testimony contains or reflects trade secrets or any other type of confidential or proprietary

  information; (b) prejudice the rights of a party to object to the production of information or material

  that the party does not consider to be within the scope of discovery; (c) prejudice the rights of a

  party to seek a determination by the presiding judge that particular materials be produced; (d)

  prejudice the rights of a party to apply to the presiding judge for further protective orders; or (e)

  prevent the parties from agreeing in writing to alter or waive the provisions or protections provided

  for in this Protective Order with respect to any particular information or material.

                                                 Waiver.

         19.     Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor

  work-product protection is waived by disclosure connected with this litigation. Further pursuant

  to Federal Rule of Evidence 502(d), this Protective Order—not Federal Rule of Evidence 502(b)—

  controls the inadvertent or mistaken disclosure of information covered by the attorney-client

  privilege or work-product protection. If information subject to a claim of attorney-client privilege

  or work product protection or any other privilege, protection, or immunity is inadvertently or

  mistakenly produced, such production shall in no way prejudice or otherwise constitute a waiver

  (subject matter or otherwise) of, or estoppel as to, any claim of privilege, protection, or immunity

  for such information as provided under applicable law, including Federal Rule of Evidence 502,

  regardless of the reasonableness of the producing party’s inadvertent or mistaken production. If a

  producing party has inadvertently or mistakenly produced information that is subject to a claim of

  immunity, protection or privilege, and if the producing party makes a written request for the return

  of such information, the information for which a claim of inadvertent production is made, as well

  as all copies, shall be returned immediately unless the receiving party disputes the claim of

  privilege, protection, or immunity.     Likewise, any analyses, memoranda, or notes that were




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internally generated based upon such inadvertently produced information must be destroyed upon

receipt of such a written request from the producing party, unless the receiving party disputes the

claim of privilege, protection, or immunity.         The producing party will promptly include

information explaining the asserted privilege, protection, or immunity on a privilege log. If the

receiving party disputes the producing party’s assertion of privilege, protection, or immunity on

any information, the receiving party must sequester the information until the Court rules on the

applicability of privilege, protection, or immunity to that information. The producing party shall

request that the Court rule on whether the information should be deemed privileged or otherwise

protected, and in the event that the information is deemed privileged or otherwise protected by the

Court and if there is no immediate appeal of the Court’s findings of privilege or protection, the

receiving party shall promptly return the privileged information and destroy any notes,

memoranda, or analyses that were generated. Subject to the Court’s direction, resolution of the

issue may include the Court’s review of the potentially privileged or protected information in

camera.

                                     Conclusion of Litigation.

       20.     Within sixty (60) calendar days after final judgment in this action, including the

exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement

agreement, each party or other person subject to the terms of this Protective Order is under an

obligation to destroy or return to the producing party all materials and documents containing

Confidential Information or Confidential Attorney Eyes Only Information, and to certify to the

producing party that this destruction or return has been done. To the extent that Confidential

Information contains PHI, counsel for the receiving party shall ensure that such mat erials are

destroyed using a methodology specified by the U.S. Secretary of Health and Human Services




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pursuant to Section 13402(h)(2) of Public Law 111-5 that renders the PHI unusable, unreadable,

or indecipherable. However, outside counsel for any party is entitled to retain all court papers,

trial transcripts, exhibits, and attorney work provided that any such materials are maintained and

protected in accordance with the terms of this Protective Order.

       21.     The obligations created by this Protective Order shall survive the termination of

this action unless otherwise modified by the Court.

                                       Other Proceedings.

       22.     By entering this Protective Order and limiting the disclosure of information in this

case, the presiding judge does not intend to preclude another court from finding that information

may be relevant and subject to disclosure in another case. Any person or party subject to this

Protective Order who may be subject to a motion to disclose a designating party’s information

designated confidential pursuant to this Protective Order must promptly notify the designating

party of the motion so that the designating party may have an opportunity to appear and be heard

on whether that information should be disclosed.

                                                Remedies.

       23.     It is Ordered that this Protective Order will be enforced by the sanctions set forth

in Fed. R. Civ. P. 37(b) and any other sanctions as may be available to the presiding judge,

including the power to hold parties or other violators of this Protective Order in contempt. All

other remedies available to any person injured by a violation of this Protective Order are fully

reserved.

       24.     Any party may petition the presiding judge for good cause shown if the party

desires relief from a term or condition of this Protective Order.




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    So ORDERED and SIGNED this 5th day of August, 2024.




                                             ____________________________________
                                             ROBERT W. SCHROEDER III
                                             UNITED STATES DISTRICT JUDGE




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                                           Exhibit A

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

 PARIS EMERGENCY CENTER, LLC   §
 d/b/a SIGNATURECARE EMERGENCY §
 CENTER – PARIS, et al.,       §
                               §
            Plaintiffs,        §
                               §
 v.                            § Civil Action No. 5:24-cv-00002-RWS
                               §
 BLUE CROSS AND BLUE SHIELD OF §
 TEXAS, A DIVISION OF HEALTH   §
 CARE SERVICE CORPORATION,     §
                               §
            Defendant.         §


                   CONFIDENTIALITY AGREEMENT FOR EXPERT,
                   CONSULTANT OR EMPLOYEES OF ANY PARTY

I hereby affirm that:

       Information, including documents and things, designated as “Confidential Information” or

“Confidential Attorney Eyes Only Information,” as defined in the Protective Order entered in the

above-captioned action (“Protective Order”), is being provided to me pursuant to the terms and

restrictions of the Protective Order.

       I have been given a copy of and have read the Protective Order.

       I am familiar with the terms of the Protective Order and I agree to comply with and to be

bound by its terms.

       I submit to the jurisdiction of this Court for enforcement of the Protective Order.
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       I agree not to use any Confidential Information or Confidential Attorney Eyes Only

Information disclosed to me pursuant to the Protective Order except for purposes of the

above-captioned litigation and not to disclose any of this information to persons other than those

specifically authorized by the Protective Order, without the express written consent of the party

who designated the information as confidential or by order of the presiding judge.

       I also agree to notify any stenographic, clerical, or technical personnel who are required to

assist me of the terms of this Protective Order and of its binding effect on them and me.

       I understand that I am to retain all documents or materials designated as or containing

Confidential Information or Confidential Attorney Eyes Only Information in a secure manner, and

that all such documents and materials are to remain in my personal custody until the completion

of my assigned duties in this matter, whereupon all such documents and materials, including all

copies thereof, and any writings prepared by me containing any Confidential Information or

Confidential Attorney Eyes Only Information are to be returned to counsel who provided me with

such documents and materials.


                                                             ___________________________
                                                             Signed


                                                             ___________________________
                                                             Printed Name


                                                             ___________________________
                                                             Date
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                                           Exhibit B

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

 PARIS EMERGENCY CENTER, LLC   §
 d/b/a SIGNATURECARE EMERGENCY §
 CENTER – PARIS, et al.,       §
                               §
            Plaintiffs,        §
                               §
 v.                            § Civil Action No. 5:24-cv-00002-RWS
                               §
 BLUE CROSS AND BLUE SHIELD OF §
 TEXAS, A DIVISION OF HEALTH   §
 CARE SERVICE CORPORATION,     §
                               §
            Defendant.         §


         CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS

I hereby affirm that:

       Information, including documents and things, designated as “Confidential Information” or

“Confidential Attorney Eyes Only Information,” as defined in the Protective Order entered in the

above-captioned action (“Protective Order”), is being provided to me pursuant to the terms and

restrictions of the Protective Order.

       I have been given a copy of and have read the Protective Order.

       I am familiar with the terms of the Protective Order and I agree to comply with and to be

bound by its terms.

       I submit to the jurisdiction of this Court for enforcement of the Protective Order.

       I agree not to use any Confidential Information or Confidential Attorney Eyes Only

Information disclosed to me pursuant to the Protective Order except for purposes of the

above-captioned litigation and not to disclose any of this information to persons other than those
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specifically authorized by the Protective Order, without the express written consent of the party

who designated the information as confidential or by order of the presiding judge.



                                                           ___________________________
                                                           Signed


                                                           ___________________________
                                                           Printed Name


                                                           ___________________________
                                                           Date
